Case 2:15-cv-00173-JRG-RSP Document 4 Filed 02/26/15 Page 1 of 2 PageID #: 22




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                                               §
ROTHSCHILD CONNECTED DEVICES
                                                               §
INNOVATIONS, LLC ET AL,
                                                               §
       Plaintiff,                                              §
                                                               §
      v.                                                       §
PHILIPS ELECTRONICS NORTH AMERICA                              §   2:15-cv-00166-JRG-RSP
CORPORATION
TOSHIBA AMERICA ELECTRONIC COMPONENTS,                         §   2:15-cv-00170-JRG-RSP
INC.
ADT LLC                                                        §   2:15-cv-00156-JRG-RSP
BELKIN INTERNATIONAL, INC.                                     §   2:15-cv-00157-JRG-RSP
BRICKHOUSE ELECTRONICS, LLC                                    §   2:15-cv-00158-JRG-RSP
CISCO SYSTEMS, INC.                                            §   2:15-cv-00159-JRG-RSP
CPI SECURITY, INC.                                             §   2:15-cv-00160-JRG-RSP
GENERAL ELECTRIC COMPANY                                       §   2:15-cv-00161-JRG-RSP
HONEYWELL INTERNATIONAL, INC.                                  §   2:15-cv-00162-JRG-RSP
NETGEAR, INC.                                                  §   2:15-cv-00163-JRG-RSP
ONSTAR, LLC                                                    §   2:15-cv-00164-JRG-RSP
PANASONIC CORPORATION OF NORTH AMERICA                         §   2:15-cv-00165-JRG-RSP
RAIN BIRD CORPORATION                                          §   2:15-cv-00167-JRG-RSP
SHARP ELECTRONICS CORPORATION                                  §   2:15-cv-00168-JRG-RSP
TRANE U.SINC.                                                  §   2:15-cv-00169-JRG-RSP
TYCO INTEGRATED SECURITY LLC                                   §   2:15-cv-00171-JRG-RSP
UNIDEN AMERICA CORPORATION                                     §   2:15-cv-00172-JRG-RSP
VIVINT, INC.                                                   §   2:15-cv-00173-JRG-RSP
WESTEC INTELLIGENT SURVEILLANCE, INC.                          §   2:15-cv-00174-JRG-RSP

                                             ORDER

       The above-captioned cases are hereby ORDERED to be CONSOLIDATED for all

pretrial issues (except venue) with the LEAD CASE, Cause No. 2:15-cv-156. All parties are

instructed to file any future filings (except relating to venue) in the LEAD CASE. Individual

cases remain active for venue determinations and trial. The Court will enter one docket control

order, one protective order, and one discovery order that will govern the entire consolidated case.

       If a docket control order, protective order, discovery order, and/or appointment of
Case 2:15-cv-00173-JRG-RSP Document 4 Filed 02/26/15 Page 2 of 2 PageID #: 23




    mediator has been entered in the lead case at the time new member cases are added to the

    consolidated action, all parties are directed to meet and confer in order to determine whether

    amendments to such documents are necessary. Any proposed amendments to the docket control

    order, protective order, discovery order, or appointment of a mediator shall be filed within two

    weeks of this Order.

           The local rules’ page limitations for Markman briefs and other motions will apply to the

    consolidated case. To further promote judicial economy and to conserve the parties’ resources,

    the Court encourages the parties to file a notice with the Court in the event that there are other
.
    related cases currently pending on the Court’s docket that may also be appropriate for

    consolidation with this case.

         The Clerk is instructed to add the consolidated defendants into the Lead Case and their

    corresponding Lead and Local Counsel only. Additional counsel may file a Notice of

    Appearance in the Lead Case if they wish to continue as counsel of record in the lead

    consolidated action. Counsel who has appeared pro hac vice in any member case may file a

    Notice of Appearance in the Lead Case without filing an additional application to appear pro hac

    vice in the Lead Case.
             SIGNED this 3rd day of January, 2012.
           SIGNED this 24th day of February, 2015.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
